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15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
17                                  OAKLAND DIVISION

18    EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
19                  Plaintiff, Counter-defendant,    DECLARATION OF YONATAN EVEN IN
                                                     SUPPORT OF REPLY MEMORANDUM
20                         v.                        IN SUPPORT OF EPIC GAMES, INC.’S
21                                                   MOTION TO ENFORCE INJUNCTION
      APPLE INC.,
                                                     Judge: Hon. Yvonne Gonzalez Rogers
22
                    Defendant, Counterclaimant.
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     DECLARATION OF YONATAN EVEN                               CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 921-2 Filed 04/22/24 Page 2 of 33




1           I, Yonatan Even, declare as follows:

2           1.      I am a Partner at Cravath, Swaine & Moore LLP, counsel to Epic Games, Inc.

3    (“Epic”) in the above-captioned actions. I am admitted to appear before this Court pro hac vice.

4           2.      I submit this declaration in support of the Reply Memorandum in Support of

5    Epic’s Motion to Enforce Injunction.

6           3.      I have personal, first-hand knowledge of the facts set forth in this Declaration. If

7    called as a witness, I could and would competently testify to these facts under oath.

8           4.      Attached hereto as Exhibit A is a true and correct copy of Apple, Inc.’s (“Apple”)
9    webpage titled “Distributing dating apps in the Netherlands”, last visited April 22, 2024, which is
10   available at the URL address: https://developer.apple.com/support/storekit-external-entitlement/.
11          5.      Attached hereto as Exhibit B is a true and correct copy of Apple’s webpage titled
12   “Distributing apps using a third-party payment provider in South Korea”, last visited April 22,
13   2024, which is available at the URL address: https://developer.apple.com/support/storekit-
14   external-entitlement-kr/.
15          6.      Attached hereto as Exhibit C is a true and correct copy of Apple’s webpage titled
16   “Distributing music streaming apps in the EEA that provide an external purchase link”, last
17   visited April 22, 2024, which is available at the URL address: https://developer.apple.com/
18   support/music-streaming-services-entitlement-eea/.

19          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

20   and correct and that I executed this declaration on April 22, 2024 in New York, New York.

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                                                        Yonatan Even
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     DECLARATION OF YONATAN EVEN                                  CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR Document 921-2 Filed 04/22/24 Page 3 of 33




1           I, Gary A. Bornstein, am the ECF User whose ID and password are being used to file this

2    Declaration of Yonatan Even in Support of Reply Memorandum in Support of Epic Games, Inc.’s

3    Motion to Enforce Injunction. In compliance with Civil Local Rule 5-1(i), I hereby attest that

4    concurrence in the filing of this document has been obtained from the signatory.

5

6                                                        /s/ Gary A. Bornstein
                                                         Gary A. Bornstein
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     EPIC’S MOTION TO ENFORCE                        2            CASE NO. 4:20-CV-05640-YGR-TSH
     INJUNCTION
Case 4:20-cv-05640-YGR Document 921-2 Filed 04/22/24 Page 4 of 33




                        EXHIBIT A
                       Case 4:20-cv-05640-YGR Document 921-2 Filed 04/22/24 Page 5 of 33
                               News           Discover          Design    Develop              Distribute         Support           Account


    Support                                                              Overview   Articles      Help Guides   Agreements and Guidelines     Contact us




                Distributing dating apps in
                the Netherlands
                To comply with an order from the Netherlands Authority for Consumers and Markets (ACM), developers
                distributing dating apps on the Netherlands App Store can choose to do one of the following: 1) continue
                using Appleʼs in-app purchase system, 2) use a third-party payment system within the app, 3) include an
                in-app link directing users to the developerʼs website to complete a purchase, or 4) use a third-party
                payment system within the app and include a link directing users to the developerʼs website to complete a
                purchase.

                Developers of dating apps who want to continue using Appleʼs in-app purchase system may do so and no
                further action is needed. Those who want to use a different payment system will need to request the
                StoreKit External Purchase Entitlement or the StoreKit External Purchase Link Entitlement, or both.

                The entitlements that comply with the ACM order are only available for dating apps on the App Store in the
                Netherlands, and apps distributed pursuant to those entitlements must only be used in an iOS and/or
                iPadOS app on the Netherlands storefront. Apple will review each dating app submitted to ensure it
                complies with the terms and conditions of the entitlement, as well as the App Store Review Guidelines and
                the Apple Developer Program License Agreement.




                Requesting an entitlement
                If youʼre interested in using the StoreKit External Purchase Entitlement or the StoreKit External Purchase
                Link Entitlement, get started by submitting an entitlement request form. Youʼll need to be an Account
                Holder in the Apple Developer Program; provide details such as your appʼs bundle ID, payment service
                provider, and website domain; and agree to the entitlementʼs terms and conditions.


                  . Select entitlement type

                   The StoreKit External Purchase Entitlement. For dating apps on the Netherlands storefront, this
                   entitlement lets you use a third-party payment system within your appʼs native user interface.

                   The StoreKit External Purchase Link Entitlement. For dating apps on the Netherlands storefront, this
                   entitlement lets you include an in-app link directing users to a website you own or are responsible for to
                   complete a purchase.


                  . Enter your appʼs information

                   App name and description. Enter your appʼs name, then describe the primary purpose of your app and
                   how it works.




https://developer.apple.com/support/storekit-external-entitlement/                                                                                         1/10
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                   Bundle ID. Enter the bundle ID (the appʼs unique identifier) that you plan to use. Entitlement requests
                   are per bundle ID and assigned entitlements can only be used with the single binary associated with the
                   bundle ID.



                  . Enter your payment processing information

                   Enter the name and website of your payment service provider (PSP). Before your entitlement can be
                   assigned, you must certify that your PSP meets the following criteria:
                       Meets Level 1 Payment Card Industry (PCI) compliance for handling credit and debit card data, or
                       complies with the Payment Services Directive when not handling credit and debit card data

                       Makes a customer service process available for users, including a process to dispute unauthorized
                       transactions, manage subscriptions (if applicable), and request refunds
                       Denominates all prices for the sale of digital goods and services to users in the Netherlands in the
                       euro currency


                  . Enter your website information

                   Website domain. If youʼre requesting the StoreKit External Purchase Link Entitlement, youʼll need to
                   provide the website domain (where users will complete purchases) for your destination URL. For
                   example, if your app will link to “https://example.com/subscription-sign-up/”, enter
                   “https://example.com”.

                   Note that the website domain you provide on the entitlement request form and the destination URL you
                   provide in the Xcode Info.plist file must match the app binary you submit to App Review at all times.

                   Customer support website. Enter the URL for your customer support website where users can get
                   timely support for purchases made through your external payment system. If you plan to use more than
                   one URL, list every URL.




                Configuring and enabling the entitlement
                in Xcode
                After youʼve received an email confirmation that the entitlement has been assigned to your account and
                youʼve configured the app ID in Certificates, Identifiers, and Profiles to support this entitlement, youʼll need
                to update your Xcode project, entitlements plist file, and Info.plist file to list the entitlement and metadata.
                The entitlement is compatible with devices running iOS 15 and iPadOS 15 or later.




https://developer.apple.com/support/storekit-external-entitlement/                                                                 2/10
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                  . In the Project navigator, select the .entitlements file. In Xcode 13, the filename is prefixed with an
                        icon.

                  . In the entitlements plist file, add a new entitlement key pair by holding the pointer over the Entitlements
                    File row and clicking the add button (+).

                  . Provide the following values for the entitlement:

                    a. Key: com.apple.developer.storekit.external-purchase-link or com.apple.developer.storekit.external-
                       purchase
                    b. Type: Boolean
                    c. Value: True

                  . Provide the required metadata in your Info.plist file as described in Updating your Info.plist file.

                On the next build to your device or distribution request in Xcode Organizer, Xcode will detect that the
                .entitlements file and cached provisioning profile donʼt match, and will request a new provisioning profile
                based on the latest app ID configuration to complete the code signing process.


                Updating your Info.plist file
                Each entitlement has unique requirements for the data that must be entered into your appʼs Info.plist file.
                For details on managing your appʼs Info.plist file, view documentation.


                StoreKit External Purchase
                  . Select the Info.plist file from the Project Navigator in your iOS target.

                  . Provide the following values for this entitlement:
                    a. Key: SKExternalPurchase

                    b. Type: Array of String

                    c. Value: A single ISO 3166-1 alpha-2 country code value for the country Netherlands, nl


                StoreKit External Purchase Link
                  . Select the Info.plist file from the Project Navigator in your iOS target.

https://developer.apple.com/support/storekit-external-entitlement/                                                                3/10
                       Case 4:20-cv-05640-YGR Document 921-2 Filed 04/22/24 Page 8 of 33
                  . Provide the following values for this entitlement:

                    a. Key: SKExternalPurchaseLink

                    b. Type: Dictionary with string values
                        i. Key: A single ISO 3166-1 alpha-2 country code value for the country Netherlands, nl

                       ii. Value: A single destination URL

                Note: At all times, the destination URL (link to your website) that you provide in the Info.plist file in Xcode
                must match the value in your app binary submitted to App Review. Make sure that each value is a string
                that:

                   Uses the https scheme;

                   Forms a valid, absolute URL;

                   Contains no query parameters; and

                   Contains 1,000 or fewer ASCII characters.




                Providing a third-party payment system within
                your app

                Requirements and guidelines
                In addition to enabling the StoreKit External Purchase Entitlement, youʼll need to use required StoreKit
                APIs, and follow usage requirements designed to help protect peopleʼs privacy and security, prevent
                scams and fraudulent activity, and maintain the overall quality of the user experience.

                   The entitlement can only be used with a dating app for iOS and/or iPadOS on the Netherlands
                   storefront. If your app is available in multiple regions, the entitlement may be included in your app, but
                   can only be used in the version of the app on the Netherlands storefront, when on iOS or iPadOS.

                   The entitlement cannot be used in the same app with Appleʼs in-app purchase system in the
                   Netherlands storefront.

                   When using the entitlement, you may include a third-party payment system within the app. The app
                   must surface the External Purchase Modal Sheet (Figure 1) that explains the user is going to make
                   purchases through a source other than Apple. The in-app payment flow you implement must:
                       Provide a native experience within the app. It may not be within a web view. The user can leave the
                       app only when legally required to go to a website or another app to complete the purchase.

                       Not contain any hidden, dormant, or undocumented payment functionality or behavior.

                   If your app engages in misleading marketing practices, such as bait and switch, scams, or fraud, it will
                   be removed from the App Store and you may be removed from the App Store and you may be removed
                   from the Apple Developer Program.



                Using required StoreKit APIs

https://developer.apple.com/support/storekit-external-entitlement/                                                                4/10
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                   When using the StoreKit External Purchase entitlement, your app must:

                       Check canMakePayments prior to each flow to make a purchase or enter payment information. This
                       call indicates whether the user is allowed to make payments.

                       Use the StoreKit External Purchase API for devices running iOS or iPadOS 15.4 or later to display an
                       in-app modal sheet that informs users of an external payment system, as described below.

                   When your app is not calling the StoreKit External Purchase API, use Storefront or SKStorefront in
                   StoreKit to confirm that the Netherlands is the userʼs storefront prior to each flow to make a purchase or
                   enter payment information.


                Displaying the in-app modal sheet
                When using a third-party payment system within your app, your app must include an in-app modal sheet
                that explains purchases are made through a source other than Apple.

                For iOS or iPadOS 15.4 or later, this is implemented by using the StoreKit External Purchase API. For
                devices running iOS or iPadOS 15 to iOS 15.3, youʼll need to implement the modal sheet by following
                exactly the modal sheetʼs design and text provided in Figure 1.

                This sheet must be displayed prior to:

                   Each payment flow where the user would make a purchase, until the user taps "I Understand", on a per-
                   device basis.

                   Each flow to enter payment information, even if not for a specific purchase, until the user taps "I
                   Understand", on a per-device basis.

                Figure 1. External Purchase Modal Sheet




                                                                     English
                                                                     Title: Your payment will be managed by the developer. You
                                                                     will no longer be transacting with Apple.

                                                                     Body: All purchases in this app will be processed by a service
                                                                     provider selected by the developer “developerName”. The
                                                                     developer will be responsible for the payment methods and
                                                                     related features such as subscriptions and refunds. App Store
                                                                     features, such as your stored App Store payment method,
                                                                     subscription management, and refund requests, will not be
                                                                     available.

                                                                     Learn More

                                                                     Action: I Understand


                                                                     Dutch
                                                                     Title: Je betaling wordt beheerd door de ontwikkelaar. Je
                                                                     hebt geen transacties meer met Apple.

                                                                     Body: Alle aankopen in deze app worden verwerkt door een
                                                                     serviceaanbieder geselecteerd door de ontwikkelaar
                                                                     'developerName'. De ontwikkelaar is verantwoordelijk voor de
                                                                     betaalmethodes en gerelateerde functies zoals
                                                                     abonnementen en terugbetalingen. App Store-functies, zoals
                                                                     je bewaarde App Store-betaalmethode, abonnementsbeheer
                                                                     en verzoeken tot terugbetaling, zijn niet beschikbaar..

                                                                     Lees meer

                                                                     Action: Ik begrijp het


https://developer.apple.com/support/storekit-external-entitlement/                                                                    5/10
                      Case 4:20-cv-05640-YGR Document 921-2 Filed 04/22/24 Page 10 of 33
                                                                     Design Specifications (4.9 MB) 




                Linking to your website from your app

                Requirements and guidelines
                In addition to enabling the StoreKit External Purchase Link Entitlement, youʼll need to use required StoreKit
                APIs, and follow usage requirements designed to help protect peopleʼs privacy and security, prevent
                scams and fraudulent activity, and maintain the overall quality of the user experience.

                   The entitlement can only be used with a dating app for iOS and/or iPadOS on Netherlands storefront. If
                   your app is available in multiple regions, the entitlement may be included in your app, but can only be
                   used in the version of the app on the Netherlands storefront, when on iOS or iPadOS.

                   The entitlement cannot be used in the same app with Appleʼs in-app purchase system in the
                   Netherlands storefront.

                   When using the entitlement, you may include a link in your app to direct users to make purchases on a
                   website you own or are responsible for. The link must:
                       Surface the External Purchase Link Modal Sheet (Figure 2), that explains the user is leaving the app
                       and going to the web to make purchases through a source other than Apple;

                       Open a new window in the default browser installed on the userʼs device; the link may not open a web
                       view in the app;

                       Not pass additional parameters in the URL, so that user or device data is not transmitted to the
                       developer without the userʼs knowledge or permission;

                       Go directly to your website without any redirect or intermediate link or landing page;

                       Be submitted with your app to App Review, and be resubmitted if the URL changes.

                   Your App Store product pageʼs metadata cannot include information about purchasing on your website
                   or a link to your website for purchasing.

                   If your app engages in misleading marketing practices, such as bait and switch, scams, or fraud, it will
                   be removed from the App Store and you may be removed from the Apple Developer Program.


                Using required StoreKit APIs
                   When using the StoreKit External Purchase Link Entitlement, your app must:
                       Check canMakePayments prior to each instance of linking a user out to an external website for
                       purchasing digital goods and services.

                       Use the StoreKit External Purchase Link API for devices running iOS and iPadOS 15.4 or later to
                       display an in-app modal sheet that informs users of an external payment system, as described below.

                       Unless youʼre calling the StoreKit External Purchase Link API, use Storefront or SKStorefront in
                       StoreKit to confirm that the Netherlands is the userʼs storefront prior to each instance of linking a

https://developer.apple.com/support/storekit-external-entitlement/                                                              6/10
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                       user out to an external website for purchasing digital goods and services.


                Displaying the in-app modal sheet
                Your app must display an in-app modal sheet explaining to the user that theyʼll be leaving the app and
                going to the web to make a purchase through a source other than Apple. This modal sheet must be
                displayed prior to each instance of linking to an external website for purchasing digital goods and services,
                until the user taps "I Understand", on a per-device basis.

                For iOS or iPadOS 15.4 or later, this is implemented by using the StoreKit External Purchase Link API. For
                devices running iOS or iPadOS 15 to iOS 15.3, youʼll need to implement the modal sheet by following
                exactly the modal sheetʼs design and text provided in Figure 2.

                Figure 2. External Purchase Link Modal Sheet




                                                                     English
                                                                     Title: Youʼre about to leave the app and go to an external
                                                                     website. You will no longer be transacting with Apple.

                                                                     Body: Any accounts or purchases made outside of this app
                                                                     will be managed by the developer “developerName". The
                                                                     developer will be responsible for the payment methods and
                                                                     related features such as subscriptions and refunds. App Store
                                                                     features, such as your stored App Store payment method,
                                                                     subscription management, and refund requests, will not be
                                                                     available.

                                                                     Learn More

                                                                     Action: I Understand


                                                                     Dutch
                                                                     Title: Je staat op het punt de app te verlaten en naar een
                                                                     externe website te gaan. Je hebt geen transacties meer met
                                                                     Apple.

                                                                     Body: Alle accounts of aankopen die aangemaakt of gedaan
                                                                     zijn buiten deze app worden beheerd door de ontwikkelaar
                                                                     'developerName'. De ontwikkelaar is verantwoordelijk voor de
                                                                     betaalmethodes en gerelateerde functies zoals
                                                                     abonnementen en terugbetalingen. App Store-functies, zoals
                                                                     je bewaarde App Store-betaalmethode, abonnementsbeheer
                                                                     en verzoeken tot terugbetaling, zijn niet beschikbaar.

                                                                     Lees meer

                                                                     Action: Ik begrijp het


                                                                     Design Specifications (4.9 MB) 




                Submitting your app for review in
                App Store Connect
https://developer.apple.com/support/storekit-external-entitlement/                                                                   7/10
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                When submitting your new app binary for review in App Store Connect, make sure to follow these
                submission requirements as well as the terms and conditions of the entitlement, the App Store Review
                Guidelines, and the Apple Developer Program License Agreement.

                   Your in-app modal sheet for your external payment flow is properly implemented and tested.

                   The website your app links to for purchases and support is fully functional.

                   Your PSP is ready to complete transactions from your app.

                   Screenshots of your appʼs UI where you make the required disclosures to users are included with your
                   submission.

                If your submission is incomplete, review times may be delayed or your app may be rejected. Once your app
                has been reviewed, its status will be updated in App Store Connect and youʼll be notified.

                At all times, youʼll need to make sure your appʼs entitlement details match your appʼs binary, and are up to
                date. To make updates to your entitlement details, such as PSP and website domain, submit an entitlement
                update form.




                Commission and sales reporting
                Consistent with the interim relief ruling of the Rotterdam district court, dating apps that are granted an
                entitlement to link out or use a third-party in-app payment provider will pay Apple a commission on
                transactions. Apple will reduce its commission by 3% on the price paid by the user, net of value-added
                taxes. This is a reduced rate that excludes value related to payment processing and related activities.
                Developers will be responsible for the collection and remittance of any applicable taxes, such as the
                Netherlandsʼ value-added tax (VAT), for sales processed by a third-party payment provider.

                Developers using these entitlements will be required to provide a report to Apple recording each sale of
                digital goods and content that has been facilitated through the App Store. This report will need to be
                provided weekly within 15 calendar days following the end of Appleʼs fiscal week (Sunday through
                Saturday). To learn about the details that will need to be included in the report, view an example report.
                Qualifying developers will receive an invoice based on the reporting and will be required to remit payment
                to Apple for the amount invoiced within 45 days following the end of Appleʼs fiscal month. In the future, if
                Apple develops technical solutions to facilitate reporting, developers will be required to adopt such
                technologies.

                Please note that Apple has audit rights pursuant to the entitlementʼs terms and conditions. This will allow
                Apple to review the accuracy of a developerʼs record of digital transactions as a result of the entitlement,
                ensuring the appropriate commission has been paid to Apple. Failure to pay Appleʼs commission could
                result in the offset of proceeds owed to you in other markets, removal of your app from the App Store, or
                removal from the Apple Developer program.




                Supporting users

https://developer.apple.com/support/storekit-external-entitlement/                                                             8/10
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                    If youʼre a developer using one of these entitlements, it will be your responsibility to provide timely support
                    to customers if questions or issues arise stemming from alternative payment options. Because Apple will
                    not be aware of purchases made using alternative methods, Apple will not be able to assist users with
                    refunds, payment history, subscription management, and other issues encountered when purchasing
                    digital goods and services through these alternative purchasing methods. Youʼll be responsible for
                    addressing such issues with customers.




                    Resources
                          App Store Review Guidelines

                          Developer agreements

                          In-app purchase

                          Auto-renewable subscriptions




                 Feedback Assistant                                                   Forums                          Contact us
               Submit feedback, report bugs,                              Ask questions and discuss          Have a question or request? We
               and request enhancements to                              development topics with Apple         can help by phone or email.
                 APIs and developer tools.                             engineers and other developers.
                                                                                                                      Get support 
                    Send us feedback                                               View forums 




              Developer     Support   Distributing dating apps in the Netherlands




    Platforms                                  Topics & Technologies                      Resources          Programs

    iOS                                        Accessibility                              Documentation      Apple Developer Program

    iPadOS                                     Accessories                                Tutorials          Apple Developer Enterprise Program

    macOS                                      App Extensions                             Downloads          App Store Small Business Program

    tvOS                                       App Store                                  Forums             MFi Program

    visionOS                                   Audio & Video                              Videos             News Partner Program

    watchOS                                    Augmented Reality                                             Video Partner Program

                                               Business                                                      Security Bounty Program
                                                                                          Support
                                               Design                                                        Security Research Device Program
    Tools                                                                                 Support Articles
                                               Distribution
    Swift                                                                                 Contact Us
                                               Education
    SwiftUI                                                                               Bug Reporting      Events
                                               Fonts
    Swift Playgrounds                                                                     System Status      Meet with Apple Experts
                                               Games
    TestFlight                                                                                               Apple Developer Centers
                                               Health & Fitness
    Xcode                                                                                                    App Store Awards
                                                                                          Account
                                               In-App Purchase
    Xcode Cloud                                                                                              Apple Design Awards
                                                                                          Apple Developer
                                               Localization

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    SF Symbols                                  Maps & Location                            App Store Connect               Apple Developer Academies

                                                Machine Learning                           Certificates, IDs, & Profiles   Entrepreneur Camp

                                                Open Source                                Feedback Assistant              WWDC

                                                Security

                                                Safari & Web




    Get the Apple Developer app.                                                                                                               Light   Dark   Auto


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                Distributing apps using a third-party
                payment provider in South Korea
                The Telecommunications Business Act in South Korea was recently amended to mandate that apps
                distributed by app market operators in South Korea be allowed to offer an alternative payment processing
                option within their apps. To comply with this law, developers can use the StoreKit External Purchase
                Entitlement. This entitlement allows apps distributed on the App Store solely in South Korea the ability to
                provide an alternative in-app payment processing option. Developers who want to continue using Appleʼs
                in-app purchase system may do so and no further action is needed.

                Those who want to use a different payment system will need to enable the entitlement in Xcode, use
                required StoreKit APIs, and submit a separate app binary for iOS and/or iPadOS that is distributed solely on
                the App Store in South Korea. Apple will review this South Korea-specific app to ensure it complies with
                the terms and conditions of the entitlement, as well as the App Store Review Guidelines and the
                Apple Developer Program License Agreement.




                Requesting an entitlement
                If youʼre interested in using the StoreKit External Purchase Entitlement for apps in South Korea, get started
                by submitting an entitlement request form. Youʼll need to be an Account Holder in the Apple Developer
                Program; provide details such as your appʼs bundle ID, payment service provider, and website domain; and
                agree to the entitlementʼs terms and conditions.



                Enter your appʼs information
                Enter your appʼs name, description, and bundle ID (the appʼs unique identifier) that you plan to use.
                Entitlement requests are per bundle ID and can only be assigned to a bundle ID that has not yet been
                published on the App Store. After your entitlement has been assigned, youʼll need to submit your app as a
                separate app binary for iOS and/or iPadOS that will be distributed on the App Store solely in South Korea.


                Provide your payment processing information
                Select a pre-approved payment service provider (PSP) from the list below to process in-app purchases
                made through the South Korea storefront. The following PSPs are currently qualified to provide a payment
                processing system for apps distributed in South Korea:

                    KCP
                    Inicis

                    Toss
                    NICE


https://developer.apple.com/support/storekit-external-entitlement-kr/                                                                                       1/7
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                If you prefer to use a different PSP, enter their name and website information for consideration. Note that
                developers cannot store or transmit payment information, unless they are a PSP who meets the same
                criteria required of all other PSPs. Before your entitlement can be assigned, weʼll need to verify your PSP
                meets the criteria of having a secure payment processing system and an established track record of
                protecting user privacy. Your PSP will need to offer the following:

                    Privacy, security, and fraud prevention services consistent with industry standards.
                    Broad payment support.

                    Subscription billing capabilities with secure card storage and handling.
                    Split payments, with the ability to pay commission directly to Apple at the developerʼs request.

                Note: You may only use one PSP per entitlement. If your entitlement request doesnʼt include a pre-
                approved PSP, your request may be delayed or denied. If you need to change your PSP, submit an
                entitlement update form.


                Enter your customer support website information
                Enter the URL for your customer support website where users can get timely support for purchases made
                through your external payment system. If you plan to use more than one URL, list every URL.




                Configuring and enabling the entitlement
                in Xcode
                After youʼve received an email confirmation that the entitlement has been assigned to your account and
                youʼve configured your appʼs App ID in Certificates, Identifiers, and Profiles to support this entitlement,
                youʼll need to update your Xcode project, entitlements plist file, and info.plist file to list the entitlement and
                metadata. The entitlement is compatible with devices running iOS 15 and iPadOS 15 or later.




https://developer.apple.com/support/storekit-external-entitlement-kr/                                                                2/7
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                  . In the Project navigator, select the .entitlements file. In Xcode 13, the filename is prefixed with an
                        icon.

                  . In the entitlements plist file, add a new entitlement key pair by holding the pointer over the Entitlements
                    File row and clicking the Add button (+).

                  . Provide the following values for the entitlement:

                    a. Key: com.apple.developer.storekit.external-purchase
                    b. Type: Boolean
                    c. Value: True

                  . Provide the required metadata in your Info.plist file as described in Updating your Info.plist file.

                On the next build to your device or distribution request in Xcode Organizer, Xcode will detect that the
                .entitlements file and cached provisioning profile donʼt match, and will request a new provisioning profile
                based on the latest app ID configuration to complete the code signing process.


                Updating your Info.plist file
                Each entitlement has unique requirements for the data that must be entered into your appʼs info.plist file.
                For details on managing your appʼs info.plist file, view documentation.


                StoreKit External Purchase
                  . Select the Info.plist file from the Project Navigator in your iOS target.

                  . Provide the following values for this entitlement:
                    a. Key: SKExternalPurchase

                    b. Type: Array of String

                    c. Value: KR (The single ISO 3166-1 alpha-2 country code value for South Korea.)




                Providing a third-party payment system within
                your app

                Requirements and guidelines
                In addition to enabling the StoreKit External Purchase Entitlement, youʼll need to use required StoreKit
                APIs, and follow usage requirements designed to help protect peopleʼs privacy and security, prevent
                scams and fraudulent activity, and maintain the overall quality of the user experience.

                    The entitlement can only be used with an app for iOS or iPadOS on the App Store in South Korea.

                    The entitlement can only be used with a new binary distributed solely on South Korea storefront.

                    The entitlement cannot be used in the same app with Appleʼs in-app purchase system.




https://developer.apple.com/support/storekit-external-entitlement-kr/                                                             3/7
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                    When using the entitlement, you may include an approved third-party payment system within the app.
                    The app must surface the External Purchase Modal Sheet (Figure 1), explaining that the user is going to
                    make purchases through a source other than Apple. The in-app payment flow you implement must:

                       Provide a native experience within the app. It may not be within a web view. The user can leave the
                       app only when legally required to go to a website or another app to complete the purchase.
                       Not contain any hidden, dormant, or undocumented payment functionality or behavior.

                    If your app engages in misleading marketing practices, such as bait and switch, scams, or fraud, it will
                    be removed from the App Store and you may be removed from the Apple Developer Program.


                Using required StoreKit APIs
                    When using the StoreKit External Purchase entitlement, your app must:
                       Check canMakePayments prior to each flow to make a purchase or enter payment information. This
                       call indicates whether the user is allowed to make payments.

                       Use the StoreKit External Purchase API for devices running iOS or iPadOS 15.4 or later to display an
                       in-app modal sheet that informs users of an external payment system, as described below.

                    When your app is not calling the StoreKit External Purchase API, use Storefront or SKStorefront in
                    StoreKit to confirm that South Korea is the userʼs storefront prior to each flow to make a purchase or
                    enter payment information.


                Displaying the in-app modal sheet
                When using a third-party payment system within your app, your app must include an in-app modal sheet
                that explains purchases are made through a source other than Apple.

                For iOS or iPadOS 15.4 or later, this is implemented by using the StoreKit External Purchase API. For
                devices running iOS or iPadOS 15 to iOS 15.3, youʼll need to implement the modal sheet by following
                exactly the modal sheetʼs design and text provided in Figure 1.

                This sheet must be displayed prior to:

                    Each payment flow where the user would make a purchase, until the user taps "Continue", on a per-
                    device basis.

                    Each flow to enter payment information, even if not for a specific purchase, until the user taps
                    "Continue", on a per-device basis.

                Figure 1. External Purchase Modal Sheet




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                                                                        Korean
                                                                        Title: ࢇ ߚࡵ App Storeࢂ ߇ࢷଞ ‫˓ٸ‬ʎ एٙ ‫ݛݤ‬੬ࡶ एࡕଜ
                                                                        ए ߉‫ݡ‬ТЬ.

                                                                        Body: ࢇ ߚࢂ ֻҘ ˱࢏ ˗԰ ‫ی‬ତࡵ “<Developer Name>” ߚ
                                                                        ʎ؈࢕ɼ ˗չଢТЬ. ш ࢇۘ Apple˕ࢂ ʠԎЕ ࢇ՜एए ߉‫ݡ‬
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                                                                        ߾ оଞ ॺࢎࡶ एए ߉‫ݡ‬ТЬ.

                                                                        Link: ш ߊ߅‫̛ؿ‬

                                                                        Button 1: ˃‫ܖ‬
                                                                        Button 2: ী‫ܕ‬


                                                                        English
                                                                        Title: This app does not support the App Storeʼs private and
                                                                        secure payment system.

                                                                        Body: All purchases in this app will be managed by the
                                                                        developer “<Developer Name>”. You will no longer be
                                                                        transacting with Apple. Your stored App Store payment
                                                                        method and related features, such as subscription
                                                                        management, Ask to Buy, Family Sharing, and refund
                                                                        requests, will not be available. Apple is not responsible for the
                                                                        privacy or security of transactions made with this developer.

                                                                        Link: Learn More

                                                                        Button 1: Continue
                                                                        Button 2: Cancel


                                                                        Design Specifications (4.5 MB) 




                Submitting your app for review in
                App Store Connect
                When submitting your new app binary for review in App Store Connect, make sure to follow these
                submission requirements as well as the terms and conditions of the entitlement, the App Store Review
                Guidelines, and the Apple Developer Program License Agreement.

                    Your in-app modal sheet for your external payment flow is properly implemented and tested.

                    Your PSP is ready to complete transactions from your app.

                    Screenshots of your appʼs UI where you make the required disclosures to users are included with your
                    submission.

                    Your app availability in App Store Connect is limited to South Korea.

                    If your app is a new version of an app that currently uses Appleʼs in-app purchase system, you must
                    remove the existing app from the App Store on iOS and/or iPadOS in South Korea before your StoreKit
                    External Purchase-enabled app can be approved for distribution.

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                If your submission is incomplete or you selected a PSP that is not already approved, review times may be
                delayed or your app may be rejected. Once your app has been reviewed, its status will be updated in
                App Store Connect and you will be notified. At all times, youʼll need to make sure your appʼs entitlement
                details match your appʼs binary, and are up to date. To make updates to your entitlement details, such as
                PSP, submit an entitlement update form.




                Commission and sales reporting
                Apps that are granted an entitlement to use a third-party in-app payment provider will pay Apple a
                commission on transactions. Apple will charge a 26% commission on the price paid by the user, gross of
                any value-added taxes. This is a reduced rate that excludes value related to payment processing and
                related activities. Developers will be responsible for the collection and remittance of any applicable taxes,
                as specified in the StoreKit External Purchase Entitlement Addendum for Apps in South Korea.

                Developers using these entitlements will be required to provide a report to Apple recording each sale of
                digital goods and content that has been facilitated through the App Store. This report will need to be
                provided monthly within 15 calendar days following the end of Appleʼs fiscal month. To learn about the
                details that will need to be included in the report, view an example report. Qualifying developers will
                receive an invoice based on the reporting and will be required to remit payment to Apple for the amount
                invoiced within 45 days following the end of Appleʼs fiscal month. In the future, if Apple develops technical
                solutions to facilitate reporting, developers will be required to adopt such technologies.

                Please note that Apple has audit rights pursuant to the entitlementʼs terms and conditions. This will allow
                Apple to review the accuracy of a developerʼs record of digital transactions as a result of the entitlement,
                ensuring the appropriate commission has been paid to Apple. Failure to pay Appleʼs commission could
                result in the offset of proceeds owed to you in other markets, removal of your app from the App Store or
                removal from the Apple Developer program.




                Supporting users
                If youʼre a developer using this entitlement, it will be your responsibility to provide timely support to
                customers if questions or issues arise stemming from alternative payment options. Because Apple will not
                be aware of purchases made using alternative methods, Apple will not be able to assist users with refunds,
                payment history, subscription management, and other issues encountered when purchasing digital goods
                and services through these alternative purchasing methods. You will be responsible for addressing such
                issues with customers.




                Resources
                     App Store Review Guidelines


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                          Developer agreements

                          In-app purchase

                          Auto-renewable subscriptions




                 Feedback Assistant                                                   Forums                                        Contact us
               Submit feedback, report bugs,                                 Ask questions and discuss                     Have a question or request? We
               and request enhancements to                                 development topics with Apple                    can help by phone or email.
                 APIs and developer tools.                                engineers and other developers.
                                                                                                                                    Get support 
                    Send us feedback                                              View forums 




              Developer     Support     Distributing apps using a third-party payment provider in South Korea




    Platforms                                   Topics & Technologies                      Resources                       Programs

    iOS                                         Accessibility                              Documentation                   Apple Developer Program

    iPadOS                                      Accessories                                Tutorials                       Apple Developer Enterprise Program

    macOS                                       App Extensions                             Downloads                       App Store Small Business Program

    tvOS                                        App Store                                  Forums                          MFi Program

    visionOS                                    Audio & Video                              Videos                          News Partner Program

    watchOS                                     Augmented Reality                                                          Video Partner Program

                                                Business                                                                   Security Bounty Program
                                                                                           Support
                                                Design                                                                     Security Research Device Program
    Tools                                                                                  Support Articles
                                                Distribution
    Swift                                                                                  Contact Us
                                                Education
    SwiftUI                                                                                Bug Reporting                   Events
                                                Fonts
    Swift Playgrounds                                                                      System Status                   Meet with Apple Experts
                                                Games
    TestFlight                                                                                                             Apple Developer Centers
                                                Health & Fitness
    Xcode                                                                                                                  App Store Awards
                                                                                           Account
                                                In-App Purchase
    Xcode Cloud                                                                                                            Apple Design Awards
                                                                                           Apple Developer
                                                Localization
    SF Symbols                                                                                                             Apple Developer Academies
                                                                                           App Store Connect
                                                Maps & Location
                                                                                                                           Entrepreneur Camp
                                                                                           Certificates, IDs, & Profiles
                                                Machine Learning
                                                                                                                           WWDC
                                                                                           Feedback Assistant
                                                Open Source

                                                Security

                                                Safari & Web



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   Support                                                                  Overview      Articles      Help Guides   Agreements and Guidelines     Contact us




                Distributing music streaming apps in
                the EEA that provide an external
                purchase link
                In addition to using Appleʼs convenient, safe, and secure In-App Purchase system, music
                streaming apps on the App Store in the European Economic Area (EEA) can use the Music
                Streaming Services Entitlement (EEA) to include a link to the developerʼs website that
                informs users of other ways to purchase digital goods or services. To use the entitlement,
                youʼll need to submit a request, enable the entitlement in Xcode, and use required StoreKit
                APIs. Apple will review your app to ensure it follows the terms and conditions of the
                entitlement, as well as the App Review Guidelines and Apple Developer Program License
                Agreement.




                Requesting the entitlement
                If youʼre interested in using the Music Streaming Services Entitlement (EEA) for your app, get started by
                submitting the entitlement request form. Youʼll need to be an Account Holder in the Apple Developer
                Program, provide details such as your appʼs bundle ID, website domain, and payment service provider, and
                agree to the entitlementʼs terms and conditions.

                To qualify for the entitlement, your app must:

                   Have the primary purpose of offering music streaming services;

                   Have selected Music as their primary app category;

                   Be available on the iOS or iPadOS App Store in an EEA storefront;

                   Not use the StoreKit External Link Account Entitlement profile; and

                   Not participate in the Video Partner Program or News Partner Program.

                Please note: If you agree to the Alternative Terms Addendum for Apps in the EU, your use of alternative
                payment capabilities in EU-based storefronts will be governed under those terms, and the terms of the
                Music Streaming Services Entitlement (EEA) only apply to the Iceland and Norway storefronts of the
                App Store.


                Enter your app and website information


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                App name and description. Enter your appʼs name, then describe the primary purpose of your app and
                how it works.

                Bundle ID. Enter the bundle ID (the appʼs unique identifier) that you plan to use. Entitlement requests are
                per bundle ID and assigned entitlements can only be used with the single binary associated with the
                bundle ID.

                Customer support website. Enter the URL for your customer support website where users can get timely
                support for purchases made through your external payment system.




                Configuring and enabling the entitlement
                inणXcode
                After you receive an email confirmation that the entitlement has been assigned to your account and youʼve
                configured the App ID in Certificates, Identifiers & Profiles to support this entitlement, youʼll need to
                update your Xcode project, entitlements plist file, and Info.plist file to list the entitlement and metadata.

                The Entitlement Profile is compatible and may only be used with applications distributed through an EEA
                storefront, on devices running iOS and/or iPadOS 17.4 or later.




                   . Enable the entitlement in the Xcode Capability library or on the developer website.

                   . Provide the following values for the entitlement:
                    a. Key: com.apple.developer.storekit.external-purchase-link
                    b. Type: Boolean
                    c. Value: True

                   . Provide the required metadata in your Info.plist file, as described in Updating your Info.plist file.

                On the next build of your device or distribution request in Xcode Organizer, Xcode will detect that the
                .entitlements file and cached provisioning profile donʼt match, and will request a new provisioning profile

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                based on the latest App ID configuration to complete the code signing process.


                Updating your Info.plist file
                The entitlement has unique requirements for the data that must be entered into your appʼs Info.plist file.
                Your app can have up to five purchase links per storefront, per binary. To implement a single purchase link,
                use SKExternalPurchaseLink. To implement multiple purchase links, use SKExternalPurchaseMultiLink to
                provide an array of strings for multiple purchase links. For details on managing your appʼs Info.plist file,
                view documentation.


                SKExternalPurchaseLink
                   . Select the Info.plist file from the Project navigator in your iOS target.

                   . Provide the following values for the entitlement:
                    a. Key: SKExternalPurchaseLink
                    b. Type: Dictionary with string values
                        i. Key: A single ISO 3166-1 alpha-2 country code value for a country in the EEA.
                       ii. Value: A single destination URL


                SKExternalPurchaseMultiLink
                   . Select the Info.plist file from the Project navigator in your iOS target.

                   . Provide the following values for the entitlement:
                    a. Key: SKExternalPurchaseMultiLink
                    b. Type: Dictionary with string values
                        i. Key: A single ISO 3166-1 alpha-2 country code value for a country in the EEA.
                       ii. Value: An array containing up to five destination URLs

                Note: If your app uses SKExternalPurchaseMultiLink, youʼll need to (1) call APIs to determine eligibility as
                specified in the Understanding app and link requirements section below; (2) build and display the in-app
                disclosure sheet as specified in the Displaying the disclosure sheet section below, and (3) provide
                transaction reports to Apple as specified in the Transaction Reporting section below. In the future, if Apple
                develops API to facilitate all of these actions, you will be required to adopt such API within 30 days with an
                update of your app.


                Eligible EEA country codes
                The App Store is available in the following EEA countries: Austria (at), Belgium (be), Bulgaria (bg), Croatia
                (hr), Cyprus (cy), Czechia (cz), Denmark (dk), Estonia (ee), Finland (fi), France (fr), Germany (de),
                Greece (gr), Hungary (hu), Iceland (is), Ireland (ie), Italy (it), Latvia (lv), Lithuania (lt), Luxembourg (lu),
                Malta (mt), Netherlands (nl), Norway (no), Poland (pl), Portugal (pt), Romania (ro), Slovakia (sk), Slovenia
                (si), Spain (es), and Sweden (se).

                Include a key entry in the dictionary for each country code where your app supports linking out. At all
                times, the destination URLs (i.e., the links to your webpage) that you provide in the Info.plist file in Xcode
                must match the values in the app binary you submitted to App Review. Make sure that each value is a
                string that:

                    Uses the HTTPS scheme;


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                   Forms a valid, absolute URL;

                   Contains no query parameters; and

                   Contains 1,000 or fewer ASCII characters.




                Understanding app and link requirements
                In addition to using the entitlement and required StoreKit APIs, youʼll need to follow usage requirements
                designed to help protect peopleʼs privacy and security, prevent scams and fraudulent activity, and maintain
                the overall quality of the user experience.

                You may invite users in your Music Streaming Services App (EEA) to provide you their email address, with
                the express purpose of sending them a link to your website to purchase digital goods or services.

                Prior to each instance of linking out from your app to take the user to a website you own or are responsible
                for in order to purchase digital goods or services, you must call the relevant StoreKit External Purchase
                Link APIs, to (1) determine that you may use a link out and open a link; and (2) if so, display the system
                disclosure sheet.

                If your app uses multiple external purchase links per storefront, prior to each instance of linking from your
                app to an external website for purchases, you must:

                   Call the canMakePayments API and determine that the user may authorize payments; and

                   Call the StoreKit External Purchase Link API and determine that theyʼre a user of an EEA storefront, and
                   if so, surface the associated system disclosure.

                Any link you provide in your app to go to your website for purchases of digital goods or services must:

                   Go directly to your website without any redirect or intermediate links or landing page;

                   Open a new window in the default browser on the device, and may not open a web view;

                   Not pass additional parameters in the URL in order to protect the user (for example, their privacy);

                   Be statically-defined in the <<SKExternalPurchaseLink>> (if you have one link per storefront) or
                   <<SKExternalPurchaseMultiLink>> (if you have more than one link per storefront) in your appʼs Info.plist
                   file before submission to the App Store; or

                   Be submitted with your app to the App Store, and shall be resubmitted if the URL changes.

                If you choose to use the App Store In-App Purchase system in your app, any link out or invitation to
                provide an email address for the express purpose of purchasing digital goods on your website must:

                   Be displayed in your app on no more than one app page the user navigates to (not an interstitial, modal,
                   or pop-up), in a single, dedicated location on such page, and may not persist beyond that page;

                   Not be displayed on any page that is part of an in-app flow to merchandise or initiate a purchase using
                   In-App Purchase; and

                   Not discourage users from making In-App Purchases, or disparage In-App Purchase (nor may your app
                   otherwise do so).




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                You may not include information about purchasing on your website or a link to your website for purchasing
                on your appʼs App Store product page.

                You must provide accurate information regarding the digital goods or services available for purchase on
                your website. If your app engages in misleading marketing practices, such as bait and switch, scams, or
                fraud, it will be removed from the App Store and you may be removed from the Apple Developer Program.


                Design templates and best practices




                              Sign in screen                          Account screen                         App page




                We recommend using any of the following Apple-provided templates that best fits your use case. The
                templates follow the Plain Button style, as specified in the Human Interface Guidelines, and are localized in
                40 locales.

                Purchase template:
                Purchase from the website at www.example.com

                Special offer template:
                For special offers, go to www.example.com
                For a special offer, go to www.example.com

                Lower price template:
                Lower prices offered on www.example.com
                Lower price offered on www.example.com

                Percent off template:
                To get XX% off, go to www.example.com

                Specific price template:
                Buy for $X.XX at www.example.com


                Displaying the disclosure sheet
                When a user taps on a link in your app to a make a purchase on your website, it must display a disclosure
                sheet within in your app explaining to the user that theyʼll be going to the web to make a purchase through



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                a source other than Apple. It must be displayed prior to each instance of linking to an external website for
                purchasing digital goods and services, until the user taps "Continue", on a per-device basis.




                Single purchase link
                If youʼre providing a single link out to your webpage from
                within your app, this is implemented by using the
                ExternalPurchaseLink API. The operating system will display a
                system-provided disclosure sheet to users on a device
                running iOS 17.4, iPadOS 17.4, macOS 14.4, tvOS 17.4, or
                watchOS 14.4 or later.




                Multiple purchase links
                If youʼre providing multiple purchase links using
                SKExternalPurchaseMultiLink in your app, you need to
                manually build the in-app disclosure sheet that matches the
                design specifications and text strings provided by Apple. In a
                future release of iOS and iPadOS, calling the
                ExternalPurchaseLink API will surface a disclosure sheet
                provided by the system that supports multiple purchase links.
                When the updated API becomes available, youʼll be required
                to adopt the API within 30 days with an update of your app
                and follow the timing and requirements provided.




                Submitting your app for review in
                AppणStoreणConnect
                When submitting your new app binary for review in App Store Connect, make sure to follow these
                submission requirements as well as the terms and conditions of the entitlement, the App Review
                Guidelines, and the Apple Developer Program License Agreement.

                   Your app and in-app disclosure sheet for your external payment flow is properly implemented and
                   tested.

                   The link is only displayed to users on an EEA storefront.

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                   The website your app links to for purchases and support is fully functional.

                   The name of your payment service provider (PSP) is included in the review notes. Make sure the PSP is
                   ready to complete transactions from your app. It must:

                      Meet Level 1 Payment Card Industry (PCI) compliance for handling credit and debit card data;

                      Make a customer service process available for users, including a process to dispute unauthorized
                      transactions, manage subscriptions (if applicable), and request refunds; and

                      Denominate all prices for the sale of digital goods and services to users in local currency or euros.

                   If your app uses SKExternalPurchaseMultiLink for multiple purchase links, the URLs are included in the
                   review notes.

                TestFlight may be used for beta testing the Music Streaming Services Entitlement (EEA) profile, as long as
                any transactions incurred in such testing are provided to testers at no cost.

                If your submission is incomplete, review times may be delayed or your app may be rejected. Once your app
                has been reviewed, its status will be updated in App Store Connect and youʼll be notified.




                Commission, transaction reports, payments,
                and taxes
                All App Store developers — including those who place buttons or links with calls to action in their apps —
                benefit from Appleʼs proprietary technology and tools protected by intellectual property. These include
                Appleʼs ongoing investments in developer tools that make it easy to build apps for Appleʼs ecosystem,
                SDKs, and APIs, and updates to the platform itself. Apple also provides a safe and trusted experience
                through the App Store, made possible by App Review and antifraud initiatives, which enables users and
                developers to transact with confidence. Developers benefit from App Store discovery, marketing tools and
                opportunities, and analytics, while leveraging Appleʼs infrastructure for hosting apps and distributing app
                downloads, redownloads, and updates.

                Apple is charging a commission on digital purchases initiated within seven days from link out, as described
                below. This will not capture all transactions that Apple has facilitated through the App Store, but is a
                reasonable means to account for the substantial value Apple provides developers, including in facilitating
                linked transactions.

                Appleʼs commission will be 27% on proceeds you earn from sales (“transactions“) to the user for digital
                goods or services on your website after a link out (i.e., they tap “Continue” on the system disclosure
                sheet), provided that the sale was initiated within seven days and the digital goods or services can be used
                in an app. This includes (a) any applicable taxes and (b) any adjustments for refunds, reversals and
                chargebacks. For auto-renewing subscriptions, (i) a sale initiated, including with a free trial or offer, within
                seven days after a link out is a transaction; and (ii) each subsequent auto-renewal after the subscription is
                initiated is also a transaction.

                If youʼre a participant in the Small Business Program, or if the transaction is an auto-renewal in the second
                year or later of an auto-renewing subscription, the commission will be 12%.

                These commission rates apply to all amounts paid by each user net of transaction taxes charged by you.
                You will be responsible for the collection and remittance of any applicable taxes for sales processed by a
                third-party payment provider.


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                Transaction Reporting
                If your app adopts SKExternalPurchaseLink to provide a single link out URL, youʼre required to use the
                External Purchase Server API to report transactions to Apple for commission calculation and collection
                purposes. Required reporting includes refunds, corrections, renewals, one-time purchases, and
                transactions which didnʼt result in a purchase.

                Each SKExternalPurchaseLink API call generates a unique external purchase token from Apple. Youʼre
                expected to report within 24 hours of each completed transaction for an external purchase token. Report
                all tokens, regardless of whether a transaction has successfully completed, within ten days. You are also
                required to implement the App Store Server Notifications V2 endpoint on your server to ensure you receive
                server notifications about unreported tokens. Tokens that remain unreported after ten days are flagged
                and youʼll receive an App Store server notification reminding you to complete your transaction reporting.
                Learn about technical implementation details.

                If your app adopts SKExternalPurchaseMultiLink to provide multiple external purchase links, you're
                required to provide transaction reports within 15 calendar days following the end of each calendar month.
                Even if there were no transactions, youʼre required to provide a report stating that is the case. If the
                cadence changes, we will update this page. To learn about the details that will need to be included in the
                report, view example reports. In the future, if Apple develops an API to facilitate reporting, you will be
                required to adopt such API within 30 days with an update of your app and follow the timing and
                requirements provided.


                Payments
                If payment to Apple is due, you will receive an invoice based on the reporting and will be required to remit
                payment to Apple for the amount invoiced within 30 days of the invoice being issued. Late payments bear
                interest at the rate of one percent (1%) per month or the highest rate permitted by law, whichever is less.

                Please note that Apple has audit rights pursuant to the entitlement terms. This will allow Apple to review
                the accuracy of your record of digital transactions, ensuring the appropriate commission has been paid to
                Apple. Late payments accrue interest. Failure to pay Appleʼs commission could result in the offset of In-
                App Purchase proceeds owed to you, or other consequences such as removal of your app from the
                App Store, or termination from the Apple Developer Program.


                Taxes
                Tax on commission
                As is standard for business transactions, commission does not include taxes. You may see any applicable
                taxes, as required by tax law, added as new lines on your invoice. Taxes may apply in certain countries
                and/or regions, including but not limited to, value-added tax (VAT), sales and use tax, sales and service tax
                (SST), goods and services tax (GST), consumption tax, etc.

                Generally, the applicability of tax depends on a combination of factors:

                   Your business location (your legal entity address provided when enrolling in the Apple Developer
                   Program).

                   Tax information that you provide to Apple (such as valid tax ID, exemption status, etc.).

                   The billing Apple legal entity. For the purposes of the provisions referred to by Section 4.1 of the Music
                   Streaming Services Entitlement Addendum for EEA Apps.
                      If you are based in the United States, Canada or Latin America region, "Apple" means:
                         Apple Inc., located at One Apple Park Way, Cupertino, California, if you are located in the United
                         States, including Puerto Rico;


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                         Apple Canada Inc., located at 120 Bremner Blvd, Suite 1600, Toronto ON 5J 0A8, Canada if you are
                         located in Canada; and

                         Apple Services LATAM LLC, located at 1 Alhambra Plaza, Ste 700 Coral Gables, Florida, if you are
                         located in Mexico, Central or South America, or any Caribbean country or territory (excluding
                         Puerto Rico).
                      If you are based elsewhere, “Apple” means Apple Distribution International Ltd., located at Hollyhill
                      Industrial Estate, Hollyhill, Cork, Republic of Ireland.

                In the event that any amount payable by you to Apple for commission is subject to any applicable
                withholding tax, and that youʼre required to collect and remit such tax, you shall gross up the relevant
                payment to Apple, so that after you deduct and remit the applicable withholding tax to tax authority, Apple
                shall receive the same amount as originally invoiced. You shall bear full responsibility for such compliance
                obligations. If you apply any applicable withholding tax, please properly indicate on any withholding tax
                documentation the correct Apple legal entity issuing the specific invoice and provide Apple with tax
                remittance documentation.

                For additional details, view the Music Streaming Services Entitlement Addendum for EEA Apps. If you have
                questions, consult your tax adviser.


                Tax on link out transactions
                For purchases made using link out to your webpage, youʼre responsible for taxes, including (but not limited
                to):

                   Determining if a transaction is taxable;

                   Charging and collecting the taxes at the applicable rate;

                   Remitting the taxes to the appropriate taxing authority;

                   Providing any required documentation to the end-user or appropriate taxing authority; and

                   Meeting all other country-specific tax compliance obligations imposed as a result of making in-app
                   sales subject to tax in the storefront country and/or your country of residence.

                Prior to using link out on an EEA storefront, you must provide Apple with an EU, Norway and Iceland-
                specific VAT ID that demonstrates you are registered to handle VAT payments. Only one EU VAT ID is
                necessary for all EU storefronts.




                Supporting customers
                If you use this entitlement, it will be your responsibility to provide timely support to customers if questions
                or issues arise with payments that take place outside of the App Store. Apple will not be able to assist
                customers with refunds, purchase history, subscription management, and other issues encountered when
                purchasing digital goods and services. You will be responsible for addressing such issues with customers.




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                Feedback Assistant                                                   Forums                                           Contact us
              Submit feedback, report bugs,                                 Ask questions and discuss                        Have a question or request? We
              and request enhancements to                                 development topics with Apple                       can help by phone or email.
                APIs and developer tools.                                engineers and other developers.
                                                                                                                                      Get support 
                   Send us feedback                                              View forums 




             Developer     Support     Distributing music streaming apps in the EEA that provide an external purchase link




   Platforms                                   Topics & Technologies                      Resources                          Programs

   iOS                                         Accessibility                              Documentation                      Apple Developer Program

   iPadOS                                      Accessories                                Tutorials                          Apple Developer Enterprise Program

   macOS                                       App Extensions                             Downloads                          App Store Small Business Program

   tvOS                                        App Store                                  Forums                             MFi Program

   visionOS                                    Audio & Video                              Videos                             News Partner Program

   watchOS                                     Augmented Reality                                                             Video Partner Program

                                               Business                                                                      Security Bounty Program
                                                                                          Support
                                               Design                                                                        Security Research Device Program
   Tools                                                                                  Support Articles
                                               Distribution
   Swift                                                                                  Contact Us
                                               Education
   SwiftUI                                                                                Bug Reporting                      Events
                                               Fonts
   Swift Playgrounds                                                                      System Status                      Meet with Apple Experts
                                               Games
   TestFlight                                                                                                                Apple Developer Centers
                                               Health & Fitness
   Xcode                                                                                                                     App Store Awards
                                                                                          Account
                                               In-App Purchase
   Xcode Cloud                                                                                                               Apple Design Awards
                                                                                          Apple Developer
                                               Localization
   SF Symbols                                                                                                                Apple Developer Academies
                                                                                          App Store Connect
                                               Maps & Location
                                                                                                                             Entrepreneur Camp
                                                                                          Certificates, IDs, & Profiles
                                               Machine Learning
                                                                                                                             WWDC
                                                                                          Feedback Assistant
                                               Open Source

                                               Security

                                               Safari & Web



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